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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &             FOR COURT USE ONLY
 Email Address
 RON BENDER (SBN 143364)
 KRIKOR J. MESHEFEJIAN (SBN 255030)
 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 10250 Constellation Boulevard, Suite 1700
 Los Angeles, California 90067
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 Attorneys for Chapter 11 Debtor and Debtor in Possession

                                         UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – SAN FERNANDO DIVISION
 In re:
                                                                                    Lead Case No.: 1:17-bk-12408-MB
 ICPW Liquidation Corporation, a California                                         Jointly administered with: 1:17-bk-12409-MB
 corporation1,
                                                                                    Chapter 11 Cases
          Debtor and Debtor in Possession.
                                                                                    NOTICE OF LODGMENT OF ORDER IN
 ____________________________________                                               BANKRUPTCY CASE RE:
 In re:
                                                                                    FIRST INTERIM APPLICATION OF LEVENE, NEALE,
 ICPW Liquidation Corporation, a Nevada                                             BENDER, YOO & BRILL L.L.P. FOR APPROVAL OF
 corporation2,                                                                      FEES AND REIMBURSEMENT OF EXPENSES

                                                                                    FIRST INTERIM APPLICATION OF STUBBS,
          Debtor and Debtor in Possession.
                                                                                    ALDERTON & MARKILES LLP FOR APPROVAL OF
 ____________________________________                                               FEES AND REIMBURSEMENT OF EXPENSES

     Affects both Debtors                                                           FINAL APPLICATION OF CRAIG-HALLUM CAPITAL
                                                                                    GROUP LLC FOR APPROVAL OF FEES AND
   Affects ICPW Liquidation Corporation, a                                          REIMBURSEMENT OF EXPENSES
 California corporation only
                                                                                    FIRST INTERIM APPLICATION FOR ALLOWANCE
                                                                                    OF FEES AND COSTS FILED BY BROWN RUDNICK
    Affects ICPW Liquidation Corporation, a Nevada                                  LLP [SEPTEMBER 22, 2017 TO NOVEMBER 9, 2017]
 corporation only
                                                                                    FIRST INTERIM APPLICATION OF DENTONS US
                                                                                    LLP   FOR    APPROVAL    OF   FEES  AND
                                                                                    REIMBURSEMENT OF EXPENSES
                                                                     Debtor(s)
                                                                                    FIRST INTERIM APPLICATION OF MICHAEL D
                                                                                    SCHWARZMANN FOR APPROVAL OF FEES AND
                                                                                    REIMBURSEMENT OF EXPENSES

PLEASE TAKE NOTE that the order titled ORDER GRANTING APPLICATIONS FOR APPROVAL OF FEES AND
REIMBURSEMENT OF EXPENSES OF PROFESSIONALS EMPLOYED INTHESE CHAPTER 11 CASESwas lodged
on December 13, 2017 and is attached. This order relates to the motion which is docket numbers 230, 231, 234, 235,
246, 247.


          1
              Formerly known as Ironclad Performance Wear Corporation, a California corporation.
          2
              Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 December 2012                                                               Page 1
                                                                                                 F 9021-1.2.BK.NOTICE.LODGMENT
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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
      corporation1,
12
12
                                                          Chapter 11 Cases
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              ORDER GRANTING APPLICATIONS
                                                          FOR APPROVAL OF FEES AND
15
15    ICPW Liquidation Corporation, a Nevada              REIMBURSEMENT OF EXPENSES
16    corporation2,                                       OF PROFESSIONALS EMPLOYED
16                                                        INTHESE CHAPTER 11 CASES
17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18
           Affects both Debtors                           DATE:     December 12, 2017
19
19                                                        TIME:     1:30 p.m.
        Affects ICPW Liquidation Corporation, a           PLACE:    Courtroom “303”
20
20                                                                  21041 Burbank Blvd.
      California corporation only
21                                                                  Woodland Hills, CA
21
        Affects ICPW Liquidation Corporation, a
22
22    Nevada corporation only
23
23
24
24
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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 1           A hearing was held on December 12, 2017, at 1:30 p.m., at the above-referenced location
 2    for the Court to consider the applications for approval of fees and reimbursement of expenses (the
 3
      “Applications”) of the professionals who have been employed in the chapter 11 bankruptcy cases
 4
      of ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad
 5
      Performance Wear Corporation, a California corporation (“ICPW California”), and ICPW
 6

 7    Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear

 8    Corporation, a Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the

 9    “Debtors”). Appearances were made at the hearing on the Applications as set forth on the record
10
      of the Court.
11
             The Court, having considered the Applications and all of the pleadings filed in support of
12
      and in opposition to the Applications, and the oral statements made by the respective
13
      professionals on the record of the Court, and good cause appearing,
14

15           HEREBY ORDERS AS FOLLOWS:

16           1.       Levene, Neale, Bender, Yoo & Bill L.L.P. (“LNBYB”), bankruptcy counsel for
17    the Debtors, is allowed on an interim basis fees in the amount of $531,944.50 and expenses in the
18
      amount of $39,376.99 for total fees and expenses of $571,321.49 incurred during the period of
19
      September 8, 2017 through November 20, 2017. LNBYB is authorized to be paid this sum of
20
      $571,321.49 by these bankruptcy estates.
21

22           2.       Stubbs Alderton & Markiles, LLP (“SAM”), special corporate and securities,

23    special trademark, and special litigation counsel for the Debtors, is allowed on an interim basis

24    fees in the amount of $112,763.00 and expenses in the amount of $6,484.77 for total fees and
25    expenses of $119,247.77 incurred during the period of September 8, 2017 through November 20,
26
      2017. SAM is authorized to be paid this sum of $119,247.77 by these bankruptcy estates.
27

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 1           3.      Craig Hallum Capital Group LLC (“C-H”), financial advisor to the Debtors, is
 2    allowed on a final basis fees in the amount of $461,250 and expenses in the amount of $23,189.08
 3
      for total fees and expenses of $484,439.08. C-H is authorized to be paid this sum of $484,439.08
 4
      by these bankruptcy estates.
 5
             4.      Dentons US LLP (“Dentons”), counsel to the Official Committee of Equity
 6

 7    Holders, is allowed on an interim basis fees in the amount of $222,730.30 and expenses in the

 8    amount of $4,714.24 for total fees and expenses of $227,444.54 incurred during the period of

 9    September 22, 2017 through October 31, 2017. Dentons is authorized to be paid this sum of
10
      $227,444.54 by these bankruptcy estates.
11
             5.      Michael D. Schwarzmann (“MDS”), financial advisor to the Official Committee
12
      of Equity Holders, is allowed on an interim basis fees in the amount of $14,535.00 and expenses
13
      in the amount of $143.77 for total fees and expenses of $14,678.77 incurred during the period of
14

15    October 21, 2017 through November 3, 2017.          MDS is authorized to be paid this sum of

16    $14,678.77 by these bankruptcy estates.
17           6.      Brown Rudnick LLP (“BR”), counsel to the Official Committee of Unsecured
18
      Creditors, is allowed on an interim basis fees in the amount of $157,319.60 and expenses in the
19
      amount of $3,526.84 for total fees and expenses of $160,846.44 incurred during the period of
20
      September 22, 2017 through November 9, 2017. BR is authorized to be paid this sum of
21

22    $160,846.44 by these bankruptcy estates.

23           7.      LNBYB, which is serving as the Escrow Agent in these cases, is authorized to pay

24    all of the allowed fees and expenses authorized to be paid in this Order out of the $16,354,050.82
25    that LNBYB is holding in a segregated trust account from the proceeds of the Debtors’ recent sale
26
      of their assets (the “Sale Proceeds”).
27

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 1           8.      In accordance with the Debtors’ motion filed on November 21, 2017 as Docket
 2    Number 240, which was granted by the Court at the hearing held on December 12, 2017, ICPW
 3
      California is authorized to upstream to ICPW Nevada a sufficient amount of the Sale Proceeds to
 4
      enable ICPW Nevada to pay all of the allowed fees and expenses of the professionals employed
 5
      only by ICPW Nevada (i.e., Dentons and MDS), and to pay 10% of the allowed fees and expenses
 6

 7    of LNBYB (as an allocation of LNBYB’s allowed fees and expenses agreed to by LNBYB and

 8    the United States Trustee).

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10250 Constellation Boulevard, Suite 1700, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 13, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
       Ron Bender rb@lnbyb.com
       Cathrine M Castaldi ccastaldi@brownrudnick.com
       Russell Clementson russell.clementson@usdoj.gov
       Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
       Matthew A Gold courts@argopartners.net
       Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
       Jeffrey A Krieger jkrieger@ggfirm.com,
        kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
       Samuel R Maizel samuel.maizel@dentons.com,
        alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.h
        oward@dentons.com
       Krikor J Meshefejian kjm@lnbrb.com
       Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
       S Margaux Ross margaux.ross@usdoj.gov
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

2. SERVED BY UNITED STATES MAIL: On December 13, 2017, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Hon. Martin R. Barash
United States Bankruptcy Court
21041 Burbank Boulevard, Suite 342
Woodland Hills, CA 91367
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 13, 2017, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 December 13, 2017            Lourdes Cruz                                       /s/ Lourdes Cruz
 Date                         Type Name                                          Signature


         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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